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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                V.                           )              Docket No.: 3:98CR00067-003/RV
                                             )
LARRY SAULSBERRY                             )
                                             )



                      ORDER MODIFYING SUPERVISED RELEASE


        THIS MATTER CAME on to be heard on September 28, 2005; there appearing Assistant
United States Attorney Edwin Knight; and the defendant, Larry Saulsberry; appearing in person with
appointed counsel, Charles Lammers; and after receiving testimony, the Court did find the defendant
in violation of supervised release. The Court orders the defendant’s term of supervised release be
modified to include the following additional special condition:


"The offender shall reside at the Pensacola Community Corrections Center (halfway house) located
at 225 East Brent Lane in Pensacola, Florida 32503, and remain there, except as authorized, for a
period of six (6) months. The offender shall be placed in the Corrections Component (most
restrictive conditions) of the center, with no furloughs or weekend passes unless authorized by the
U.S. Probation Officer. The Offender shall surrender to the center upon designation by the
Community Corrections Manager as directed by the probation officer."


DONE AND ORDERED in open Court at Pensacola, Florida this 28 th day of September, 2005.




                                             /s/ Roger Vinson______________
                                             Roger Vinson
                                             Senior United States District Judge


                                             Date Signed: October 3, 2005
